                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

   IN RE: Scott W. Rotolo                                 BK NO. 18-00438 HWV
                                     Debtor(s)
                                                          Chapter 13
   COMMUNITY LOAN SERVICING,
   LLC F/K/A BAYVIEW LOAN                                 Related to Claim No.
   SERVICING, LLC
         Movant
               vs.

   Scott W. Rotolo
                                     Debtor(s)

   Jack N. Zaharopoulos,
                                     Trustee

                                   CERTIFICATE OF SERVICE

   I, Brian C. Nicholas of KML Law Group, P.C., certify that I am, and at all times hereinafter
   mentioned was, more than 18 years of age and that on August 06, 2021, I served the above captioned
   pleading, filed in the proceeding on the parties at the addresses shown below;
                                                          Attorney for Debtor(s)
   Debtor(s)                                              Tracy Lynn Updike, Esq.
   Scott W. Rotolo                                        2080 Linglestown Road
   101 Furman Road                                        Suite 201
   Dillsburg, PA 17019                                    Harrisburg, PA 17110

                                                          Trustee
                                                          Jack N. Zaharopoulos
                                                          8125 Adams Drive
                                                          Hummelstown, PA 17036


   Method of Service: electronic means or first class mail

   Dated: August 06, 2021

                                                              /s/Brian C. Nicholas Esquire
                                                              Brian C. Nicholas Esquire
                                                              KML Law Group, P.C.
                                                              BNY Mellon Independence
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